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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      4/27/2018


In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                     ORDER

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         The Plaintiffs’ Executive Committees’ motion to modify the procedures for adding or

removing plaintiffs to or from existing cases without seeking further leave from the Court is

GRANTED in part and DENIED in part.

         A new plaintiff asserting claims for solatium damages with respect to a deceased family

member may be added to the existing case of the decedent’s estate without seeking further leave

from the Court by (1) filing a Notice of Amendment in the form attached hereto as Exhibit A,

and then (2) adding the new plaintiff’s name to the docket of the existing case on ECF. Names

added onto the docket must be in First Name Last Name format, with only first letters capitalized

(i.e., not written in all capitalized letters). No more than 25 new plaintiffs may be added to an

existing case with a single Notice of Amendment. Attorneys wishing to add new plaintiffs using

this procedure are strongly encouraged to contact the Clerk of Court and make arrangements to

send members of their technical staff to court-sponsored training regarding the proper protocols

for adding new plaintiffs to existing dockets. Plaintiffs added by this procedure need not re-serve

defendants who have already been served. Any motion previously ruled on by the Court will be

considered to have been filed and decided in the same manner and shall apply with equal force

with regard to the claims of each new plaintiff.
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       All other new plaintiffs must follow the procedures established in the Court’s May 3,

2017 and January 24, 2018 Orders. ECF Nos. 3543, 3883. Any plaintiff wishing to withdraw

from the case must seek leave from the Court to dismiss his or her claims in accordance with the

Federal Rules of Civil Procedure and the Court’s Local Civil Rules.

       The Clerk of Court is respectfully directed to terminate the motion at ECF No. 3943.

SO ORDERED.




DATED:        April 27, 2018
              New York, New York




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                           EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                          NOTICE OF AMENDMENT

-----------------------------------------------------------------X

This document relates to: ________________________________________________________,

No. ___________________.

         Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the

above-referenced matter, ECF No. _________, as permitted and approved by the Court’s Order

of April 27, 2018, ECF No. _________. Upon the filing of this Notice of Amendment, the

underlying Complaint is deemed amended to add the individual(s) listed below (the “New

Plaintiffs”) as plaintiffs raising claims against the Kingdom of Saudi Arabia, and the underlying

Complaint is deemed amended to include the factual allegations, jurisdictional allegations, and

jury trial demand of the Consolidated Amended Complaint as to the Kingdom of Saudi Arabia,

ECF No. 3463, as well as all causes of action specified below. The amendment effected through

this Notice of Amendment supplements by incorporation into, but does not displace, the

underlying Complaint. This Notice of Amendment relates solely to the Kingdom of Saudi Arabia

and does not apply to any other defendant.

                                           CAUSES OF ACTION

         The New Plaintiffs hereby adopt and incorporate herein by reference the following causes

of action set forth in the Consolidated Amended Complaint:




                                                        1
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       COUNT I – Aiding and Abetting and Conspiring with Al Qaeda to Commit the

       September 11th Attacks upon the United States in violation of 18 U.S.C.

       § 2333(d) (JASTA).

       COUNT II – Aiding and Abetting and Conspiring with Al Qaeda to Commit the

       September 11th Attacks upon the United States in violation of 18 U.S.C.

       § 2333(a).

       COUNT III – Committing Acts of International Terrorism in violation of 18

       U.S.C. § 2333.

       COUNT IV – Wrongful Death.

       COUNT VI – Alien Tort Claims Act.

       COUNT VII – Assault and Battery.

       COUNT VIII – Conspiracy.

       COUNT IX – Aiding and Abetting.

       COUNT X – Intentional Infliction of Emotional Distress.

       COUNT XII – Liability Pursuant to Restatement (Second) of Torts § 317 and

       Restatement (Third) of Agency § 7.05: Supervising Employees and Agents.

       COUNT XIII – Liability Pursuant to Restatement (Second) of Torts § 317 and

       Restatement (Third) of Agency § 7.05: Hiring, Selecting, and Retaining

       Employees and Agents.

       COUNT XIV – 18 U.S.C. § 1962(a)-(d) – CIVIL RICO.

       COUNT XV – Trespass.

       COUNT XVI – Violations of International Law.




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                          IDENTIFICATION OF NEW PLAINTIFFS

       Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks

of September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s

name, the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased

family member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the

underlying Complaint discussing the decedent and/or the decedent’s estate.

     New Plaintiff’s      State of     Citizenship /       Decedent’s Name   New Plaintiff’s   Paragraphs
     Name (alphabetical   Residency    Nationality                           Relationship to   of Complaint
     by last name)        at Filing    on 9/11/2001                          Decedent          Discussing
                          (or death)                                                           Decedent
 1

 2

 3

 4

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Dated: ____________________



                                                             Respectfully submitted,



                                                             ____________________________________

                                                             COUNSEL FOR PLAINTIFFS




                                                       3
